                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas
                                  San Antonio Division

                                                                      Bankruptcy Case
                                                                                      15−52159−cag
                                                                                 No.:
                                                                         Chapter No.: 7
IN RE: JM Oilfield Service, Inc. , Debtor(s)

                                                                 Adversary Proceeding
                                                                                      17−05071−cag
                                                                                 No.:
                                                                               Judge: Craig A. Gargotta
                                                             Jose Rodriguez
                                                             Plaintiff
                                                        v.
                                                             CTI Metal Buildings,
                                                             Inc.
                                                             Defendant



                                      ORDER TO PERFECT SERVICE
      It appearing to the Court that Plaintiff(s) has failed to comply with the provision of Bankruptcy Rule 7004, IT
IS THEREFORE ORDERED that counsel for the Plaintiff(s) obtain service of process on the following
Defendant(s) in this case within thirty (30) days from entry of this order:

                                                CTI Metal Buildings, Inc.

Failure to do so will result in dismissal for want of prosecution.


Dated: 10/4/17
                                                                Yvette M. Taylor
                                                                Clerk, U. S. Bankruptcy Court




                                                                                                [Perfect Service Order (AP)] [OpsAPap]
